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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

SYMBOLOGY INNOVATIONS LLC,                              )
                                                        )
       Plaintiff,                                       )
                                                        ) C.A. No. 1:18-cv-01262-RGA
       v.                                               )
                                                        ) JURY TRIAL DEMANDED
MUJI U.S.A. LIMITED,                                    )
                                                        )
       Defendant.                                       )

                     NOTICE OF DISMISSAL WITHOUT PREJUDICE


             Plaintiff Symbology Innovations LLC, pursuant to Fed. R. Civ. P. 41 (a), hereby

provides notice that it dismisses all of its claims in this action WITHOUT PREJUDICE. Each

party shall bear its own costs, expenses, and attorneys' fees.

Dated: December 19, 2018                       Respectfully Submitted,

                                               STAMOULIS & WEINBLATT LLC

                                                /s/ Stamatios Stamoulis
                                               Stamatios Stamoulis (Del. Bar No. 4606)
                                               Stamoulis & Weinblatt LLC
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                                               /s/ Eugenio J. Torres-Oyola
                                               Eugenio J. Torres-Oyola
                                               (Admitted Pro Hac Vice)

                                               /s/ Jean G. Vidal Font
                                               Jean G. Vidal Font
                                               (Admitted Pro Hac Vice)
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                                            ATTORNEYS   FOR   PLAINTIFF
                                            SYMBOLOGY INNOVATIONS LLC


                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served on December 19, 2018, to all counsel of record who are deemed to

have consented to electronic service via the Court's CM/ECF system per Local Rule CV-5(a)(3).

                                  /s/ Stamatios Stamoulis
                              Stamatios Stamoulis (Del. Bar No. 4606)




                     IT IS SO ORDERED this ____ day of ____________ 201__.




                                           _______________________________
                                           UNITED STATES DISTRICT JUDGE
